Case 10-93904-BHL-11      Doc 1176    Filed 06/08/12     EOD 06/08/12 14:49:44    Pg 1 of 8




                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              NEW ALBANY DIVISION

 IN RE:                              )                 Chapter 11
                                     )
 EASTERN LIVESTOCK CO., LLC,         )                 Case No. 10-93904-BHL-11
                                     )
                 Debtor.             )                 Hon. Basil H. Lorch III
 ___________________________________ )
                                     )
 JAMES A. KNAUER, CHAPTER 11
 TRUSTEE OF EASTERN LIVESTOCK CO., )
                                     )
 LLC
                                     )
      Plaintiff,                     )                 Adversary Proceeding No.
                                     )                 _________
      v.                             )
                                     )
 TENNESSEE VALLEY LIVESTOCK,         )
                                     )
      Defendant.                     )


 COMPLAINT TO (I) AVOID PREFERENTIAL AND FRAUDULENT TRANSFERS AND
 TO RECOVER PROPERTY PURSUANT TO 11 U.S.C. §§ 547, 548 AND 550; AND (II)
           DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502 (d)

      James A. Knauer, as Chapter 11 Trustee for Eastern Livestock Co., LLC, by

 counsel, for his complaint against Tennessee Valley Livestock, states as follows:


                                 Jurisdiction & Parties

          1.   The above-captioned adversary proceeding (the "Adversary Proceeding")

 arises in and is related to the above-captioned bankruptcy case (the "Chapter 11

 Case"), which is currently pending under chapter 11 of title 11 of the United States Code

 (the "Bankruptcy Code") in the United States Bankruptcy Court for the Southern District

 of Indiana, New Albany Division (the "Court").
Case 10-93904-BHL-11          Doc 1176   Filed 06/08/12   EOD 06/08/12 14:49:44    Pg 2 of 8




        2.      This Adversary Proceeding is brought pursuant to Rule 7001 of the

 Federal Rules of Bankruptcy Procedure.

        3.      This Court has jurisdiction over the subject matter of this Adversary

 Proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

        4.      This Adversary Proceeding is a core proceeding pursuant to 28 U.S.C. §

 157(b), (e), (f), and (h).

        5.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(b).

        6.      Eastern Livestock Co., LLC ("Debtor" or "ELC") was one of the largest

 cattle dealers in the United States, with operations and assets located in at least eleven

 states. ELC was headquartered in New Albany, Indiana, with branch locations across

 several states.

        7.       Certain petitioning creditors commenced the Chapter 11 Case on

 December 6, 2010, (the "Petition Date") by filing an involuntary petition for relief under

 the Bankruptcy Code.         The Bankruptcy Court entered the Order For Relief in An

 Involuntary Case and Order to Complete Filing on December 28, 2010.

        8.      On December 28, 2010, James A. Knauer ("Plaintiff" or "Trustee") was

 appointed as the Chapter 11 Trustee for ELC.

        9.      Defendant Tennessee Valley Livestock ("Defendant") is a "person" as

 defined in Section 101(41) of the Bankruptcy Code residing in and/or conducting

 business in the United States.

        10.     At all relevant times material hereto, Defendant was a vendor, supplier or

 otherwise maintained a business relationship with ELC or its affiliates.




                                               2
Case 10-93904-BHL-11       Doc 1176     Filed 06/08/12    EOD 06/08/12 14:49:44      Pg 3 of 8




        11.    On at least one occasion and/or from time to time and occurring within

 ninety (90) days prior to the Petition Date, Defendant sold one or more head of cattle to

 ELC or its affiliates either directly to ELC as the owner of the cattle or through the terms

 of a consigned sale (the "Cattle Transactions").

                     Allegations Common To All Claims For Relief

        12.    Section 101(54) of the Bankruptcy Code applicable to this Adversary

 Proceeding defines "transfer" as, "every mode, direct or indirect, absolute or conditional,

 voluntary or involuntary, of disposing of or parting with property or with an interest in

 property, including retention of title as a security interest and foreclosure of the debtor's

 equity of redemption."

        13.    Plaintiff is informed and believes and, based thereon, alleges, that in

 satisfaction of ELC obligations to Defendant on account of the Cattle Transactions, ELC

 made transfers of property from ELC deposit accounts and/or accounts under the

 control of ELC and/or the transfer of cattle or other personal property to the Defendant

 on or within ninety (90) days on before the Petition Date, that is between September 7,

 2010 and December 5, 2010, inclusive, in the form of payments and/or transfers to the

 Defendant (the "Transfers"), in the sums, form of payment, and on or around the dates

 as reflected on Exhibit A, attached hereto and made part hereof.

        14.    The Transfers to the Defendant indentified in Exhibit A were transfers of

 interests of ELC's property.

        15.    The Transfers to the Defendant were made while ELC was insolvent.

                                     Count I
        Avoidance of Transfers As Preferential Transfers (11 U.S.C. § 547(b))




                                              3
Case 10-93904-BHL-11        Doc 1176      Filed 06/08/12   EOD 06/08/12 14:49:44   Pg 4 of 8




        16.    Plaintiff incorporates by reference the allegations contained in paragraphs

 1 through 16, inclusive, as if fully set forth herein.

        17.    Plaintiff is informed and believes and, based thereon, alleges that the

 Transfers were made to the Defendant for the benefit of the Defendant, who was a

 creditor of Debtor at the time of the Transfers on account of the Cattle Transactions,

 respectively, as the term creditor is defined by Section 101(10) of the Bankruptcy Code.

        18.    Plaintiff is informed and believes and, based thereon, alleges that the

 Transfers were transfers of interests of the Debtor in property.

        19.    Plaintiff is informed and believes and, based thereon, alleges that the

 Transfers were made for or on account of one or more antecedent debts owed by the

 Debtor to the Defendant on account of the Cattle Transactions prior to the date on

 which the Transfers respectively were made.

        20.    Plaintiff is informed and believes and, based thereon, alleges at the time

 of each of the Transfers, the Defendant had a right to payment on account of an

 obligation owed to the Defendant by the Debtor.

        21.    As of the Petition Date, Plaintiff is informed and believes, and based

 thereon, alleges the Transfers were made while ELC was insolvent because the value

 of ELC's assets at a fair valuation was less than the sum of its debts. As a result of the

 Transfers, the Defendant received more than it would have received if (a) the Debtor's

 bankruptcy case was a case under chapter 7 of the Bankruptcy Code; (b) the respective

 Transfers had not been made; and (c) the Defendant had received payment on such

 debt owed to it by Debtor to the extent provided by chapter 7 of the Bankruptcy Code.




                                                4
Case 10-93904-BHL-11        Doc 1176      Filed 06/08/12   EOD 06/08/12 14:49:44   Pg 5 of 8




         22.   Plaintiff is entitled to an order and judgment under Section 547(b) of the

 Bankruptcy Code avoiding the Transfers.

                                     Count II
      Avoidance of Transfers as Fraudulent Transfers (11 U.S.C. § 548(a)(1)(A))

         23.   This Count II is in the alternative to Count I.

         24.    Plaintiff incorporates by reference the allegations contained in paragraphs

 1 through 23, inclusive, as if fully set forth herein.

         25.   Plaintiff is informed and believes and, based thereon, alleges that the

 Debtor made the Transfers to the Defendant with the actual intent to hinder, delay, or

 defraud on or more of Debtor's creditors.

         26.   Plaintiff is entitled to avoid the Transfers and recover the value of the

 Transfers from the Defendant under Sections 544 and 548(a)(1)(A) of the Bankruptcy

 Code.

                                      Count III
         Avoidance of Transfers as Fraudulent Transfers (11 U.S.C. § 548(a)(1)(B))

         27.   This Count III is in the alternative to Counts I and II.

         28.   Plaintiff incorporates by reference the allegations contained in paragraphs

 1 through 26, inclusive, as if fully set forth herein.

         29.   Under Section 548(a)(1)(B) of the Bankruptcy Code, the Plaintiff may

 avoid the value of Transfers made if the Debtor received less than reasonably

 equivalent value in exchange for the Transfers and Debtor (i) was insolvent at the time

 of the Transfers or became insolvent as a result of any of the Transfers, (ii) was

 engaged in business or a transaction, or was about to engage in a business or

 transaction, for which any property remaining with the Debtor was unreasonably small




                                                5
Case 10-93904-BHL-11        Doc 1176      Filed 06/08/12   EOD 06/08/12 14:49:44    Pg 6 of 8




 capital; (iii) intended to incur or believed that it would incur debts that would be beyond

 its ability to pay as they matured, or (iv) made such transfers to or for the benefit of an

 insider under an employment contract and not in the ordinary course of business.

         30.   ELC received less than reasonably equivalent value in exchange for the

 Transfers.

         31.   Debtor was insolvent on the date Defendant received each of the

 Transfers.

         32.   The Transfers were made within two (2) years of the Petition Date.

         33.   Plaintiff is entitled to avoid the Transfers and recover the value of the

 Transfers from the Defendant under Section 548(a)(1)(B) of the Bankruptcy Code.

                                       Count IV
                        Recovery of Avoided Transfers (11 U.S.C. § 550)

         34.   Plaintiff incorporates by reference the allegations contained in paragraphs

 1 through 33, inclusive, as if fully set forth herein.

         35.   Plaintiff is informed and believes and, based thereon, alleges that the

 Plaintiff is entitled to avoid the Transfers under Sections 544, 547 (b) and 548(a)(1)(A)

 of the Bankruptcy Code, and recover for the benefit of the Debtor's estate, the proceeds

 or the value of the Transfers from the Defendant or any immediate or mediate

 transferee of the Defendant, or any of them, under Section 550(a)(1) of the Bankruptcy

 Code.

         WHEREFORE, the Plaintiff requests that the Bankruptcy Court enter judgment in

 its favor and against Defendant as follows:




                                                6
Case 10-93904-BHL-11        Doc 1176      Filed 06/08/12   EOD 06/08/12 14:49:44   Pg 7 of 8




                                   ON COUNTS I, II AND III

        1.     Declaring that the Transfers identified herein are avoided and set aside as

 preferences under Section 547, or as Fraudulent conveyances under Sections 544 and

 548(a)(1)(A) and (B) of the Bankruptcy Code;

                                             ON COUNT IV

        2.     Directing and ordering that the Defendant, or any immediate or mediate

 transferee of the Defendant, turn over to the Plaintiff the full sum of the proceeds or

 value of the Transfers (and any other avoided Transfers discovered after the date of this

 Complaint) pursuant to Section 550 of the Bankruptcy Code;

        3.     Awarding judgment against the Defendant and in favor of the Plaintiff in an

 amount of not less than $259,863.30.

                                    ON COUNTS I THROUGH IV

        5.     Pre-judgment interest at the maximum legal rate running from the time of

 the Transfer(s) until the date of judgment herein;

        6.     Post-judgment interest at the maximum legal rate running from the date of

 judgment herein until the date the judgment is paid in full; and

        7.     Fees and costs incurred by the Plaintiff in this suit;

        8.     Such other and further relief as is necessary proper.

                                           Count V
                             Complaint For Disallowance Of Claim
                               Pursuant To 11 U.S.C. § 502(D)


        36.    Plaintiff incorporates by reference the allegations contained in paragraphs

 1 through 35, inclusive, as if fully set forth herein.




                                                7
Case 10-93904-BHL-11      Doc 1176    Filed 06/08/12   EOD 06/08/12 14:49:44     Pg 8 of 8




       37.    Plaintiff is informed and believes, and based thereon, alleges that the

 Defendant has or may assert a claim against the Debtor's estate.

       38.    Pursuant to Section 502 (d) of the Bankruptcy Code, Plaintiff requests that

 any claim asserted by Defendant be disallowed for the failure to repay the Transfers.

       WHEREFORE, the Plaintiff requests that the Bankruptcy Court enter judgment in

 its favor and against Defendant as follows:

       1.     Disallowing any and all claims of the Defendant against the Plaintiff's

 estate under Section 502(d) of the Bankruptcy Code; and

       2.     Such other and further relief as is necessary proper.

                                   Respectfully submitted,

                                   KROGER, GARDIS & REGAS, LLP


                                   By: /s/ Jay P. Kennedy
                                   Jay P. Kennedy, Attorney No. 5477-49
                                   Counsel for James A. Knauer, Trustee

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                                               8
